Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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                           EXHIBIT 31
Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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Case:17-03283-LTS Doc#:12998-7 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
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